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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO
                             Bankruptcy Judge Elizabeth E. Brown


  In re:                                             Case No. 20-12377 EEB
                                                     Chapter 11
  Sklar Exploration Company, LLC,
  Debtor.


  In re:                                             Case No. 20-12380 EEB
                                                     Chapter 11
  Sklarco, LLC,
  Debtor.

                                                     Joint Administered Under
                                                     Case No. 20-12377 EEB



            EX PARTE MOTION FOR EXAMINATION OF DEBTORS PURSUANT
                TO FED. R. BANKR. P. 2004 AND LOCAL BANKR. R. 2004-1


           NOW INTO COURT, through undersigned counsel, comes JF Howell Interests, LP

 (“Howell Interests”), a creditor and party in interest of Sklar Exploration Company, LLC, (“SEC”)

 in the jointly-administered bankruptcy cases (the “Cases”) of SEC and Sklarco, LLC (“Sklarco”,

 and collectively with SEC, the “Debtors”), who files this Ex Parte Motion for Examination of

 Debtors Pursuant to Fed. R. Bankr. P. 2004 and Local Bankr. R. 2004-1 (the “2004 Motion”), and

 respectfully requests entry of an order authorizing Howell Interests to examine Debtors’ assets,

 liabilities, financial affairs, as well as its pre-petition operations, accounting methods,

 intercompany transactions, transfers and transactions with any insider, including Howard Sklar or

 any insider connected to Howard Sklar.

                                          BACKGROUND

           1.    On April 1, 2020, each of the Debtors filed a voluntary petition under Chapter 11


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 of the Bankruptcy Code with this Court, and by order of this Court, their corresponding bankruptcy

 Cases are jointly administered under Chapter 11 Case No. 20-12377. [Dkt. No. 8].

        2.      On April 15, 2020, the undersigned counsel was retained by Howell Interests. Since

 Howell Interests’ retention, the undersigned has active in the above matters on issues pertaining to

 the assets for which SEC acts as operator under the governing agreements, plans of reorganization,

 and investigation of potential claims.

        3.      Howell Interests has been advised of the document requests on counsel for the

 Debtors by counsel for the Unsecured Creditors Committee and Howell Interests likewise desires

 to obtain such documents.

        4.      Accordingly, Howell Interests respectfully requests authority to examine the

 Debtors with respect to the Debtors’ prepetition operations, assets, and liabilities, intercompany

 transactions with both debtor and non-debtor affiliates, as well as any transactions with Howard

 Sklar, any insider connected with Howard Sklar and the various trusts, and in conjunction with the

 same, serve the request for documents substantially in the form attached hereto as Exhibit “A.”

                                          BASIS FOR RELIEF

        5.      Federal Rule of Bankruptcy Procedure 2004 and Local Rule of Bankruptcy

 Procedure 2004-1 permit the examination of any entity with respect to “discovering assets

 examining transactions, and determining whether wrongdoing has occurred.” Fed. R. Bankr. P.

 2004; L.R.B.P. 2004-1. “The purpose of a Rule 2004 examination is to determine the condition,

 extent, and location of the debtor’s estate in order to maximize distribution to unsecured creditors.”

 In re Lufkin, 255 B.R. 204, 208 (Bankr. E.D. Tenn. 2000).

        6.      A party in interest therefore “may use Rule 2004 to determine the nature and extent

 of a bankruptcy estate and to ascertain whether wrongdoing has occurred.” In re Hilsen, 2008 WL




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 2945996, at *4 (Bankr. S.D.N.Y. Jul. 25, 2008); In re Recoton Corp., 307 B.R. 751, 755 (Bankr.

 S.D.N.Y. 2004) (“The purpose of a Rule 2004 examination is to assist a party in interest in

 determining the nature and extent of the bankruptcy estate, revealing assets, examining

 transactions and assessing whether wrongdoing has occurred.”). “Any third party who has a

 relationship with a debtor may be made subject to a Rule 2004 investigation.” In re Recoton Corp.,

 307 B.R. 751, 755 (Bankr. S.D.N.Y. 2004).

        7.      The scope of a Rule 2004 examination is “extremely broad,” and has even been

 likened by some courts to a “lawful ‘fishing expedition.’” Id. (quoting Bank One, Columbus, N.A.

 v. Hammond (In re Hammond), 140 B.R. 197, 201 (S.D. Ohio 1992)). “The scope of a [ ] Rule

 2004 examination is ‘unfettered and broad.’ Its purpose is to facilitate the discovery of assets and

 the unearthing of frauds and has been likened to a quick ‘fishing expedition’ into general matters

 and issues regarding the administration of the bankruptcy case.” In re Bakalis, 199 B.R. 443, 447

 (Bankr. E.D.N.Y. 1996) (quoting In re GHR Energy Corp., 33 B.R. 451, 453 (Bankr. D. Mass.

 1983). The standard for granting a Rule 2004 examination is whether the movant has established

 “good cause.” In re Hammond, 140 B.R. 197, 201 (S.D. Ohio 1992).

        8.      Rule 2004 examinations are an appropriate tool for investigating fraudulent transfer

 claims in particular. See Rhodes v. Litig. Trust of the Rhodes Cos., LLC (In re Rhodes Cos., LLC),

 475 B.R. 733 (D. Nev. 2012) (“the subpoenas were an appropriate method of investigating

 potential fraudulent transfer claims”); Kirschner v. Agoglia (In re Refco Inc.), 461 B.R. 181, 187

 (Bankr. S.D.N.Y. 2011) (listing rule 2004 as one of the “several sections of the Bankruptcy Code

 [that] govern the trustee or debtor in possession’s unique role in investigating … fraudulent

 transfer claims ….”).




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                                             JOINDER

        9.      Howell Interests was provided with notice via the Court’s ECF of the Unsecured

 Creditors Committee’s Motion For 2004 Examination of Debtors and its intent to compel

 production of certain documents and then to compel the examination of Debtors. Howell Interests

 desires to participate in the Unsecured Creditors Committee’s 2004 examination of Debtors and to

 receive and review the documents sought by the Unsecured Creditors Committee. In order to

 ensure Howell Interests’ full participation in the examination and the receipt of the documents,

 Howell Interests files this Motion for 2004 Examination and agrees to conduct the examination on

 the date, place and time as that by the Unsecured Creditors Committee and to seek only those

 documents also sought by the Unsecured Creditors Committee in connection with its Motion for

 2004 Examination of Debtors.

                                              PRAYER

        10.     For the reasons set forth herein, Howell Interests respectfully requests that this Court

 enter an order authorizing the examination of Debtors on the issues raised herein and related to

 this case on no less than fourteen (14) days-notice, but that the examination occur simultaneously

 with the examination of Debtors by the Unsecured Creditors Committee pursuant to its Motion,

 and that Howell Interests be allowed to seek production of the same documents as sought by the

 Unsecured Creditors Committee and to be allowed to participate therein as appropriate.




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 Dated: October 6, 2020.

                                               Respectfully submitted,

                                               BRADLEY MURCHISON KELLY & SHEA LLC


                                               By:    /s/ David R. Taggart
                                                      David R. Taggart (Texas Bar # 00793102)
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                                          --   Attorneys for JF Howell Interests, LP


                              CERTIFICATE OF CONFERENCE

        On October 5, 2020 undersigned counsel attempted to confer in good faith telephonically

 with Keri Riley, one of the counsel for Debtors, and left a message for her with her office and also

 sent her an email. Ms. Riley has not responded as of the date of the filing of this Motion.

 Additionally, on October 5, 2020, undersigned counsel in an attempt to confer in good faith

 telephonically with Christopher Johnson, one of the counsel for the Unsecured Creditors

 Committee, and both left a voice mail and sent an email. On October 6, 2020, Mr. Ross Parker,

 co-counsel with Mr. Johnson, returned the call and stated that the Unsecured Creditors Committee

 did not object to Howell Interests’ Motion.


                                                           /s/ David R. Taggart
                                                      OF COUNSEL




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                               CERTIFICATE OF SERVICE


        I HEREBY CERTIFY that the foregoing was electronically filed on October 6, 2020.

 Notice of this filing will be sent to all parties by operation of the Court’s electronic filing system.

 Parties may access this filing through the Court’s system.



                                                                /s/ David R. Taggart
                                                        OF COUNSEL




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